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                                                                                    2024 Jul-30 AM 11:49
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

STATE OF ALABAMA, et al.,               )
                                        )
      Plaintiffs,                       )
                                        )
v.                                      ) Civil Action No. 7:24-cr-533-ACA
                                        )
MIGUEL CARDONA, in his                  )
official capacity as the U.S.           )
Secretary of Education, et al.,         )
                                        )
      Defendants.                 )


                ORDER REGARDING COMPLIANCE WITH
               FEDERAL RULE OF CIVIL PROCEDURE 26(f)

      The court reminds the parties of their obligations under Federal Rule of Civil

Procedure 26(f) to confer within thirty days from the first appearance of a defendant

for the purposes of: considering the nature and basis of their claims and defenses;

the possibilities for a prompt settlement or resolution of the case; to make or arrange

for the disclosures required by Federal Rule of Civil Procedure 26(a)(1); and to

develop a proposed discovery plan that indicates the parties’ views and proposals

concerning all of the matters addressed in sub-paragraphs (1) through (4) of Federal

Rule of Civil Procedure 26(f). Because the court is entering this order more than

thirty days after the first appearance of a defendant, the parties must confer and file

their report on or before August 13, 2024.
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      A.     Form of Report

      The court expects the parties to jointly file a report of the parties’ planning

meeting, in the general format of Exhibit A to this order, with the Clerk of Court by

the deadline set out above. The report should contain a synopsis of the case advising

the court of the general claims and defenses of the parties. Should the parties disagree

about an item in the report, the positions of the parties as to that item should be

clearly set forth in separate paragraphs.

      When preparing the report, be aware that the case should be ready for trial

within eighteen months from the date of service of the complaint. In cases where the

parties request deadlines that extend beyond eighteen months, the parties must

include a summary of the factors they believe justify the court’s departure from its

customary scheduling.

      Upon receipt of the report, the court will set a Federal Rule of Civil Procedure

16(b) scheduling conference if requested by the parties.

      The report must include a discovery plan stating the parties’ views and

proposals on:

      1) any issues about disclosure, discovery, or preservation of electronically

stored information, including the form or forms in which it should be produced; and,

      2) any issues about claims of privilege or of protection as trial-preparation

materials. If the parties agree on a procedure to assert these claims after production



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(i.e., a “clawback” agreement), the report should include a statement about whether

they want the court’s scheduling order to adopt their agreement under Federal Rule

of Evidence 502.

      B.     Commencement of Discovery

      The parties are authorized to commence discovery pursuant to the terms of

Federal Rule of Civil Procedure 26. In cases removed from state court in which any

discovery requests were filed before such removal, those discovery requests shall be

deemed to have been filed on the date the parties file the report required by Federal

Rule of Civil Procedure 26(f). The court instructs the parties to review Local Rule

5.3 regarding the non-filing of discovery materials in civil cases.

      DONE and ORDERED this July 30, 2024.



                                     _________________________________
                                     ANNEMARIE CARNEY AXON
                                     UNITED STATES DISTRICT JUDGE




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                                  EXHIBIT A

                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                               ______ DIVISION

[Name(s) of plaintiff(s)]             )
                                      )
      Plaintiff(s),                   )
                                      )
v.                                    ) Civil Action No. ___
                                      )
[Name(s) of defendant(s)]             )
                                      )
      Defendant(s).                   )

                 REPORT OF THE PARTIES’ PLANNING MEETING

1.    The following persons participated in a Federal Rule of Civil Procedure
      26(f) conference on <Date> by <State the method of conferring>:

      <Name>, representing the <plaintiff(s)>
      <Name>, representing the <defendant(s)>


2.    Initial Disclosures. The parties [have completed] [will complete by <Date>]
      the initial disclosures required by Rule 26(a)(1).

3.    Discovery Plan. The parties propose this discovery plan:

      <Use separate paragraphs or subparagraphs if the parties disagree.>

      (a)   Discovery will be needed on these subjects: <Describe>.
      (b)   <Dates for commencing and completing discovery, including
            discovery to be commenced or completed before other discovery.>
      (c)   <Maximum number of interrogatories by each party to another party,
            along with the dates the answers are due.>
      (d)   <Maximum number of requests for admission, along with the dates
            responses are due.>
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     (e)   <Maximum number of depositions by each party.>
     (f)   <Limits on the length of depositions, in hours.>
     (g)   <Dates for exchanging reports of expert witnesses.>
     (h)   <Dates for supplementations under Rule 26(e).>

4.   Other Items:

     (a)   <A date if the parties ask to meet with the court before a scheduling
           order.>
     (b)   <Requested dates for pretrial conferences.>
     (c)   <Final dates for the plaintiff to amend pleadings or to join parties.>
     (d)   <Final dates for the defendant to amend pleadings or to join parties.>
     (e)   <Final dates to file dispositive motions.>
     (f)   <State the prospects for settlement.>
     (g)   <Identify any alternative dispute resolution procedure that may
           enhance settlement prospects.>
     (h)   <Final dates for submitting Rule 26(a)(3) witness lists, designations
           of witnesses whose testimony will be presented by deposition, and
           exhibit lists.>
     (i)   <Final dates to file objections under Rule 26(a)(3).>
     (j)   <Suggested trial date and estimate of trial length.>
     (k)   <Other matters.>

Date: <Date>                        <Signature of the attorney or unrepresented
                                    party>

                                    ____________________________________
                                    <Printed name>
                                    <Address>
                                    <E-mail address>
                                    <Telephone number>

Date: <Date>                        <Signature of the attorney or unrepresented
                                    party>

                                    ____________________________________
                                    <Printed name>
                                    <Address>
                                    <E-mail address>


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                           <Telephone number>




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